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 7
 8                                  UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
11   JOSE ESCOBEDO.                         ) No.
                                            )
12                  Plaintiff,              ) COMPLAINT ASSERTING DENIAL OF
                                            ) RIGHT OF ACCESS UNDER THE
13          vs.                             ) AMERICANS WITH DISABILITIES ACT
                                            )
14   NICOLE SOLANO dba CHALIO’S             ) FOR INJUNCTIVE RELIEF,
     FRESNO; DAVID C. YANG, Trustee of the ) DECLARATORY RELIEF, DAMAGES,
15                                          ) ATTORNEYS’ FEES AND COSTS (ADA)
     DAVID C. YANG AND SUSIE U. YANG
                                            )
16   AB LIVING TRUST; SUSIE U. YANG,        )
     Trustee of the DAVID C. YANG AND SUSIE )
17   U. YANG AB LIVING TRUST;               )
                                            )
18                                          )
                    Defendants.             )
19                                          )
20                                              I. SUMMARY
21           1.       This is a civil rights action by plaintiff JOSE ESCOBEDO (“Plaintiff”) for
22   discrimination at the building, structure, facility, complex, property, land, development, and/or
23   surrounding business complex known as:
24                    Chalio’s Fresno aka Tacos y Tortas Chalio’s Fresno
                      2108 North Blackstone Avenue
25                    Fresno, California 93703
26                    (hereafter “the Facility”)

27           2.       Plaintiff seeks damages, injunctive and declaratory relief, attorney fees and costs,
28   against NICOLE SOLANO dba CHALIO’S FRESNO; DAVID C. YANG, Trustee of the



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 1   DAVID C. YANG AND SUSIE U. YANG AB LIVING TRUST; and SUSIE U. YANG, Trustee
 2   of the DAVID C. YANG AND SUSIE U. YANG AB LIVING TRUST (hereinafter collectively
 3   referred to as “Defendants”), pursuant to Title III of the Americans with Disabilities Act of 1990
 4   (42 U.S.C. §§ 12101 et seq.) (“ADA”) and related California statutes.
 5                                         II.         JURISDICTION
 6             3.      This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343 for ADA
 7   claims.
 8             4.      Supplemental jurisdiction for claims brought under parallel California law –
 9   arising from the same nucleus of operative facts – is predicated on 28 U.S.C. § 1367.
10             5.      Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
11                                               III.     VENUE
12             6.      All actions complained of herein take place within the jurisdiction of the United
13   States District Court, Eastern District of California, and venue is invoked pursuant to 28 U.S.C.
14   § 1391(b), (c).
15                                               IV.     PARTIES
16             7.      Defendants own, operate, and/or lease the Facility, and consist of a person (or
17   persons), firm, and/or corporation.
18             8.      Plaintiff suffers from rheumatoid arthritis which impairs his ability to move his
19   joints without pain, is substantially limited in his ability to walk requiring a cane for mobility,
20   and has limited dexterity due to arthritis and finger amputation. Consequently, Plaintiff is
21   “physically disabled,” as defined by all applicable California and United States laws, and a
22   member of the public whose rights are protected by these laws.
23                                                V.      FACTS
24             9.      The Facility is open to the public, intended for non-residential use, and its
25   operation affects commerce. The Facility is therefore a public accommodation as defined by
26   applicable state and federal laws.
27             10.     Plaintiff lives less than ten miles from the Facility and visited the Facility on or
28   about July 29, 2023 to have food and drinks. During his visit to the Facility, Plaintiff personally



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 1   encountered barriers (both physical and intangible) that interfered with, if not outright denied,
 2   Plaintiff’s ability to use and enjoy the goods, services, privileges and accommodations offered
 3   at the Facility. These barriers include, but are not necessarily limited to, the following:
 4                    a)       Plaintiff had difficulty making his way to the Facility entrance because
 5                             the route of travel serving the entrance was cracked and uneven, with
 6                             excessive slopes and height changes which were hard for him to walk
 7                             across.
 8                    b)       The Facility entrance door was heavy and closed too quickly, which made
 9                             it difficult for Plaintiff to open and walk through.
10                    c)       Plaintiff needed to use the restroom while at the Facility, and had
11                             difficulty making his way to the restroom because the route was too
12                             narrow and contained excessive slopes and height changes.
13                    d)       The entrance to the restroom was not identified by signage, which made
14                             it difficult for Plaintiff to locate and requiring him to travel farther to find
15                             the restroom.
16                    e)       The entrance to the restroom required the use of a key, and it was difficult
17                             for Plaintiff to use both hands to grasp and turn the key and open the door.
18                             Additionally, the locking mechanism on the inside required tight grasping
19                             and turning of the wrist, which was difficult and painful for Plaintiff.
20                    f)       The restroom entrance had a raised threshold that was too high, which was
21                             difficult for Plaintiff to step over.
22                    g)       Additionally, the interior maneuvering clearances at the restroom door
23                             were obstructed by a cabinet, which was difficult for Plaintiff to squeeze
24                             past while entering and exiting the room.
25                    h)       The flush control on the toilet in the restroom was a string, which was
26                             difficult for Plaintiff to grasp and pull, and required excessive force.
27                    i)       The toilet seat cover dispenser in the restroom was positioned too high
28                             and it was obstructed by the toilet, making it difficult for Plaintiff to reach.



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 1                    j)       The toilet paper dispenser in the restroom was positioned too high, which
 2                             made it difficult for Plaintiff to reach.
 3                    k)       The paper towel dispenser in the restroom was positioned too high, which
 4                             made it difficult for Plaintiff to reach.
 5            11.     There may exist other barriers at the Facility which relate to Plaintiff’s
 6   disabilities, and he will seek to amend this Complaint once such additional barriers are identified
 7   as it is Plaintiff’s intention to have all barriers which exist at the Facility and relate to his
 8   disabilities removed to afford him full and equal access.
 9            12.     Plaintiff was, and continues to be, deterred from visiting the Facility because
10   Plaintiff knows that the Facility’s goods, services, facilities, privileges, advantages, and
11   accommodations were and are unavailable to Plaintiff due to Plaintiff’s physical disabilities.
12   Plaintiff enjoys the goods and services offered at the Facility, and will return to the Facility once
13   the barriers are removed.
14            13.     Defendants knew, or should have known, that these elements and areas of the
15   Facility were inaccessible, violate state and federal law, and interfere with (or deny) access to
16   the physically disabled. Moreover, Defendants have the financial resources to remove these
17   barriers from the Facility (without much difficulty or expense), and make the Facility accessible
18   to the physically disabled. To date, however, Defendants refuse to either remove those barriers
19   or seek an unreasonable hardship exemption to excuse non-compliance.
20            14.     At all relevant times, Defendants have possessed and enjoyed sufficient control
21   and authority to modify the Facility to remove impediments to wheelchair access and to comply
22   with the 1991 ADA Accessibility Guidelines and/or the 2010 ADA Standards for Accessible
23   Design. Defendants have not removed such impediments and have not modified the Facility to
24   conform to accessibility standards. Defendants have intentionally maintained the Facility in its
25   current condition and have intentionally refrained from altering the Facility so that it complies
26   with the accessibility standards.
27   //
28   //



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 1            15.     Plaintiff further alleges that the (continued) presence of barriers at the Facility is
 2   so obvious as to establish Defendants’ discriminatory intent. On information and belief, Plaintiff
 3   avers that evidence of this discriminatory intent includes Defendants’ refusal to adhere to
 4   relevant building standards; disregard for the building plans and permits issued for the Facility;
 5   conscientious decision to maintain the architectural layout (as it currently exists) at the Facility;
 6   decision not to remove barriers from the Facility; and allowance that Defendants’ property
 7   continues to exist in its non-compliant state. Plaintiff further alleges, on information and belief,
 8   that the Facility is not in the midst of a remodel, and that the barriers present at the Facility are
 9   not isolated or temporary interruptions in access due to maintenance or repairs.
10                                          VI.     FIRST CLAIM
11                                   Americans with Disabilities Act of 1990
12                                 Denial of “Full and Equal” Enjoyment and Use
13            16.     Plaintiff re-pleads and incorporates by reference the allegations contained in each
14   of the foregoing paragraphs, and incorporates them herein as if separately re-pled.
15            17.     Title III of the ADA holds as a “general rule” that no individual shall be
16   discriminated against on the basis of disability in the full and equal enjoyment (or use) of goods,
17   services, facilities, privileges, and accommodations offered by any person who owns, operates,
18   or leases a place of public accommodation. 42 U.S.C. § 12182(a).
19            18.     Defendants discriminated against Plaintiff by denying Plaintiff “full and equal
20   enjoyment” and use of the goods, services, facilities, privileges and accommodations of the
21   Facility during each visit and each incident of deterrence.
22                        Failure to Remove Architectural Barriers in an Existing Facility
23            19.     The ADA specifically prohibits failing to remove architectural barriers, which are
24   structural in nature, in existing facilities where such removal is readily achievable. 42 U.S.C.
25   § 12182(b)(2)(A)(iv).
26   //
27   //
28   //



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 1              20.      When an entity can demonstrate that removal of a barrier is not readily
 2   achievable, a failure to make goods, services, facilities, or accommodations available through
 3   alternative methods is also specifically prohibited if these methods are readily achievable. Id.
 4   § 12182(b)(2)(A)(v).
 5              21.      Here, Plaintiff alleges that Defendants can easily remove the architectural barriers
 6   at the Facility without much difficulty or expense, that the cost of removing the architectural
 7   barriers does not exceed the benefits under the particular circumstances, and that Defendants
 8   violated the ADA by failing to remove those barriers, when it was readily achievable to do so.
 9              22.      In the alternative, if it was not “readily achievable” for Defendants to remove the
10   Facility’s barriers, then Defendants violated the ADA by failing to make the required services
11   available through alternative methods, which are readily achievable.
12                                    Failure to Design and Construct an Accessible Facility
13              23.      Plaintiff alleges on information and belief that the Facility was designed and
14   constructed (or both) after January 26, 1993 – independently triggering access requirements
15   under Title III of the ADA.
16              24.      The ADA also prohibits designing and constructing facilities for first occupancy
17   after January 26, 1993, that aren’t readily accessible to, and usable by, individuals with
18   disabilities when it was structurally practicable to do so. 42 U.S.C. § 12183(a)(1).
19              25.      Here, Defendants violated the ADA by designing and constructing (or both) the
20   Facility in a manner that was not readily accessible to the physically disabled public – including
21   Plaintiff – when it was structurally practical to do so. 1
22                                       Failure to Make an Altered Facility Accessible
23              26.      Plaintiff alleges on information and belief that the Facility was modified after
24   January 26, 1993, independently triggering access requirements under the ADA.
25   //
26   //
27
28   1
      Nothing within this Complaint should be construed as an allegation that Plaintiff is bringing this action as a
     private attorney general under either state or federal statutes.


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 1            27.     The ADA also requires that facilities altered in a manner that affects (or could
 2   affect) its usability must be made readily accessible to individuals with disabilities to the
 3   maximum extent feasible. 42 U.S.C. § 12183(a)(2). Altering an area that contains a facility’s
 4   primary function also requires making the paths of travel, bathrooms, telephones, and drinking
 5   fountains serving that area accessible to the maximum extent feasible. Id.
 6            28.     Here, Defendants altered the Facility in a manner that violated the ADA and was
 7   not readily accessible to the physically disabled public – including Plaintiff – to the maximum
 8   extent feasible.
 9                                 Failure to Modify Existing Policies and Procedures
10            29.     The ADA also requires reasonable modifications in policies, practices, or
11   procedures, when necessary to afford such goods, services, facilities, or accommodations to
12   individuals with disabilities, unless the entity can demonstrate that making such modifications
13   would fundamentally alter their nature. 42 U.S.C. § 12182(b)(2)(A)(ii).
14            30.     Here, Defendants violated the ADA by failing to make reasonable modifications
15   in policies, practices, or procedures at the Facility, when these modifications were necessary to
16   afford (and would not fundamentally alter the nature of) these goods, services, facilities, or
17   accommodations.
18                                      Failure to Maintain Accessible Features
19            31.     Defendants additionally violated the ADA by failing to maintain in operable
20   working condition those features of the Facility that are required to be readily accessible to and
21   usable by persons with disabilities.
22            32.     Such failure by Defendants to maintain the Facility in an accessible condition was
23   not an isolated or temporary interruption in service or access due to maintenance or repairs.
24            33.     Plaintiff seeks all relief available under the ADA (i.e., injunctive relief, attorney
25   fees, costs, legal expense) for these aforementioned violations. 42 U.S.C. § 12205.
26            34.     Plaintiff seeks a finding from this Court (i.e., declaratory relief) that Defendants
27   violated the ADA in order to pursue damages under California’s Unruh Civil Rights Act.
28   //



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 1                                        VII.    SECOND CLAIM
 2                                                Unruh Act
 3           35.      Plaintiff re-pleads and incorporates by reference the allegations contained in each
 4   of the foregoing paragraphs, and incorporates them herein as if separately re-pled.
 5           36.      California Civil Code § 51 states, in part, that: All persons within the jurisdiction
 6   of this state are entitled to the full and equal accommodations, advantages, facilities, privileges,
 7   or services in all business establishments of every kind whatsoever.
 8           37.      California Civil Code § 51.5 also states, in part that: No business establishment
 9   of any kind whatsoever shall discriminate against any person in this state because of the disability
10   of the person.
11           38.      California Civil Code § 51(f) specifically incorporates (by reference) an
12   individual’s rights under the ADA into the Unruh Act.
13           39.      Defendants’ aforementioned acts and omissions denied the physically disabled
14   public – including Plaintiff – full and equal accommodations, advantages, facilities, privileges
15   and services in a business establishment (because of their physical disability).
16           40.      These acts and omissions (including the ones that violate the ADA) denied, aided
17   or incited a denial, or discriminated against Plaintiff by violating the Unruh Act.
18           41.      Plaintiff was damaged by Defendants’ wrongful conduct, and seeks statutory
19   minimum damages of $4,000 for each offense.
20           42.      Plaintiff also seeks to enjoin Defendants from violating the Unruh Act (and
21   ADA), and recover reasonable attorneys’ fees and costs incurred under California Civil Code
22   § 52(a).
23                                          VIII. THIRD CLAIM
24                           Denial of Full and Equal Access to Public Facilities
25           43.      Plaintiff re-pleads and incorporates by reference the allegations contained in each
26   of the foregoing paragraphs, and incorporates them herein as if separately re-pled.
27           44.      Health and Safety Code § 19955(a) states, in part, that: California public
28   accommodations or facilities (built with private funds) shall adhere to the provisions of



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 1   Government Code § 4450.
 2              45.      Health and Safety Code § 19959 states, in part, that: Every existing (non-exempt)
 3   public accommodation constructed prior to July 1, 1970, which is altered or structurally repaired,
 4   is required to comply with this chapter.
 5              46.      Plaintiff alleges the Facility is a public accommodation constructed, altered, or
 6   repaired in a manner that violates Part 5.5 of the Health and Safety Code or Government Code
 7   § 4450 (or both), and that the Facility was not exempt under Health and Safety Code § 19956.
 8              47.      Defendants’ non-compliance with these requirements at the Facility aggrieved (or
 9   potentially aggrieved) Plaintiff and other persons with physical disabilities. Accordingly,
10   Plaintiff seeks injunctive relief and attorney fees pursuant to Health and Safety Code § 19953.
11                                          IX.      PRAYER FOR RELIEF
12              WHEREFORE, Plaintiff prays judgment against Defendants, and each of them, for:
13              1.       Injunctive relief, preventive relief, or any other relief the Court deems proper.
14              2.       Statutory minimum damages under section 52(a) of the California Civil Code
15                       according to proof.
16              3.       Declaratory relief finding that Defendants violated the ADA for the purposes of
17                       Unruh Act damages.
18              4.       Attorneys’ fees, litigation expenses, and costs of suit. 2
19              5.       Interest at the legal rate from the date of the filing of this action.
20              6.       For such other and further relief as the Court deems proper.
21
22   Dated: March 28, 2024                                   MOORE LAW FIRM, P.C.
23
24                                                          /s/ Tanya E. Moore
                                                            Tanya E. Moore
25
                                                            Attorney for Plaintiff
26                                                          Jose Escobedo

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28   2
         This includes attorneys’ fees under California Code of Civil Procedure § 1021.5.



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 1
                                           VERIFICATION
 2
 3
             I, JOSE ESCOBEDO, am the plaintiff in the above-entitled action. I have read the
 4
     foregoing Complaint and know the contents thereof. The same is true of my own knowledge,
 5
     except as to those matters which are therein alleged on information and belief, and as to those
 6
     matters, I believe them to be true.
 7
             I verify under penalty of perjury that the foregoing is true and correct.
 8
 9
     Dated: March 29, 2024                          /s/ Jose Escobedo
10                                                  Jose Escobedo
11
12           I attest that the original signature of the person whose electronic signature is shown above
     is maintained by me, and that his concurrence in the filing of this document and attribution of
13   his signature was obtained.
14                                                  /s/ Tanya E. Moore
15                                                   Tanya E. Moore
                                                    Attorney for Plaintiff,
16                                                  Jose Escobedo
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